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September 6, 2019                                                             Michael B. de Leeuw
                                                                              Direct Phone 212-908-1331
                                                                              Direct Fax   646-461-2090
VIA ECF                                                                       mdeleeuw@cozen.com



Hon. Louis L. Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Federal Trade Comm’n, et al. v. Quincy Bioscience Holding Co., LLC,, et al., 17-cv-
       00124-LLS

Your Honor:

         We represent Defendant Mark Underwood in the above-captioned matter. For the
reasons set forth in the letter submitted to Your Honor at Dkt. #82 by Quincy Bioscience Holding
Company, Inc., Quincy Bioscience LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and
Quincy Bioscience Manufacturing, LLC, Mr. Underwood respectfully requests that the Court deny
Plaintiffs’ request for a pre-motion conference (Dkt. #77). Moreover, Plaintiffs’ request to file a
motion to strike “certain affirmative defenses” should be denied.



Respectfully submitted,

COZEN O'CONNOR

/s/ Michael B. de Leeuw

BY:    MICHAEL B. DE LEEUW

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 LEGAL\42762582\1


                                  45 Broadway 16th Floor New York, NY 10006
                          212.509.9400   800.437.7040   212.509.9492 Fax   cozen.com
